                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

NEW PRIME, INC., d/b/a PRIME, INC., )
                                    )
         Plaintiff,                 )
                                    )
     vs.                            )                 Case No. 6:19-cv-03236-MDH
                                    )
AMAZON LOGISTICS, INC.,             )
AMAZON.COM SERVICES LLC, and )
AMAZON TECHNOLOGIES, INC.,          )
                                    )
         Defendants.                )


                        ORDER OF DISMISSAL WITH PREJUDICE

       Before the Court is the parties’ Joint Stipulation of Dismissal (Doc. 299) wherein

Plaintiff New Prime, Inc. and Defendants Amazon Logistics, Inc., Amazon.com Services LLC,

and Amazon Technologies, Inc., agree and stipulate that this case has been settled and resolved

to the parties’ satisfaction. Pursuant to Fed.R.Civ.P. 41(a)(1)(A_(ii) and the terms of their

settlement agreement, the parties stipulate and agree that the above-captioned case be dismissed

with prejudice, with each party to bear its own costs and attorneys’ fees, in light of the settlement

agreement reached between the parties.


       WHEREFORE, the Court GRANTS the parties’ Joint Stipulation of Dismissal (Doc.

299), and hereby dismisses this case in its entirety with prejudice, with each party paying its own

attorneys’ fees and costs.


       IT IS SO ORDERED.
DATED:         May 2, 2022
                                                       /s/ Douglas Harpool________________
                                                         DOUGLAS HARPOOL
                                                      UNITED STATES DISTRICT JUDGE



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